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                                       UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF PENNSYLVANIA


In re: Jennifer L. Shinn Madden, Debtor.                                                     Case No. 24-10354-amc
                                                                                             Chapter 13


                               Disclosure of Compensation of Attorney for Debtor


1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
   debtors(s) and that compensation paid to me within one year before the filing of the petition, or agreed
   to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of
   or in connection with the bankruptcy case is as follows:

    For legal services, I have agreed to accept flat fees and hourly rates consistent with the attached fee
    agreement.

    Prior to filing this statement, I have received......................................................................... $1,825.00

2. The source of the compensation paid to me was:

    ☒ Debtor(s)               ☐ Other:

3. The source of the compensation to be paid to me is:

    ☒ Debtor(s)               ☐ Other:

4. I have not agreed to share the above-disclosed compensation with any other person unless they are
   members and associates of my law firm.

5. In return for the above-disclosed compensation, I have agreed to render legal service for all aspects of
   the bankruptcy case consistent with the attached fee agreement.

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
representation of the debtor(s) in this bankruptcy proceedings.


Date: February 19, 2024                                       /s/ Michael A. Cibik
                                                              Michael A. Cibik (#23110)
                                                              Cibik Law, P.C.
                                                              1500 Walnut Street, Suite 900
                                                              Philadelphia, PA 19102
                                                              215-735-1060
                                                              mail@cibiklaw.com
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                                Fee Agreement for Chapter 13 Bankruptcy

You are hiring us as attorneys to represent you in a chapter 13 bankruptcy case. We appreciate the
opportunity to represent you and look forward to helping you get a fresh financial start in life. This agreement
outlines what you must pay, what you must do, and what we must do. This might seem like a lot of
information, but we want to make sure you know exactly how this will work and what it will cost. Please read
this information carefully and ask us if you do not understand any part.

Getting Started

For our work on your case to begin, you must pay us an Engagement Fee of __________.     $1,825.00 The
Engagement Fee is a flat, non-refundable fee earned upon receipt that compensates us for the work we
will do to prepare for your bankruptcy case, including a detailed review of your financial circumstances. It
also compensates us for the need to refuse any other cases that may conflict with your interests. The
engagement fee will not be deposited into an attorney IOLTA or other trust account and it will be deposited
in our operating account.

You should not expect any work on your case to begin until the Engagement Fee is paid in full. Although
we may begin working on your case upon receipt of partial payment, we need not do so. This agreement is
not effective until we send you a signed copy of it. If you do not receive a signed copy right after you sign
this, please contact us.

This agreement lists our fees for individual services below. Unless this agreement specifies that a particular
service will be performed upon request, fees will be incurred whenever services in your case are necessary.
If the value of the services we provide and expenses we incur exceeds the value of the Engagement Fee,
you must pay the balance. When your chapter 13 plan is confirmed, we will ask the Court to allow the
trustee to pay the balance as an administrative expense. But if your case is dismissed or closed at any
time, the balance will be due within 30 days. A $50 late fee is due for any balance unpaid for more than 30
days. You grant us a retaining and charging attorney’s lien on all balances due.

Our Obligations

We will provide all services necessary to prosecute a successful chapter 13 bankruptcy case, in our
judgment. You grant us the right to perform any service we believe is in the best interest of your bankruptcy
estate. If you request a particular service or course of action, we reserve the right to refuse if we do not
believe that it is in the best interest of your bankruptcy estate. We will represent you in a good and
workmanlike manner at all times. If we ever make a mistake, we will provide any service needed to fix it,
and we will not charge you for it. We will respond to your inquiries within seven business days (excluding
weekends and holidays).

Your Obligations

Your cooperation is the most important factor in making your case a success. Before your case is filed, you
agree to provide us with complete and accurate financial information, as promptly as possible, including
any forms we ask you to complete and copies of any documents we request. You also agree to discuss
your financial goals with us, review all documents prepared by us, advise us about any necessary
corrections or additions, and ask for explanations of any statements that you do not understand.

For us to best represent your interests, you must timely provide us with complete and truthful information
and required documents, including about all property in which you have an ownership interest, all debts
you owe, and any other information regarding your financial affairs. We are not responsible for collecting
such information from your files or directly from your creditors or the public record. Complete, accurate and
reliable information from you is absolutely necessary (including complete and accurate addresses for your
creditors). Not all creditors are listed on your credit report, so you are responsible for making sure all your
creditors are listed on the bankruptcy schedules with correct addresses.




                                                                         Cibik Law Chapter 13 Fee Agreement v.1.0.1
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After your case is filed, you agree to:

      •    Make your full monthly payment to the trustee no more than 30 days after your case is filed, every
           30 days until we tell you in writing to pay less or to stop paying at all.

     •     Make your mortgage, lease, and car payments on time each month (or however often they are due)
           unless we tell you in writing that you need not do so.

     •     Review and comply with notices you receive from the court and respond to communications from
           us.

     •     Keep us informed of all changes to your contact information, including phone numbers and mailing
           addresses.

     •     Keep us informed of all significant changes in your financial life, including job loss or layoff,
           significant absences from work, or divorce.

     •     Inform us immediately if a creditor contacts you (unless they are collecting on a debt you make
           after your case is filed).

     •     Contact us before buying, selling, or refinancing major assets such as a home or vehicle.

     •     Promptly provide all the information and documents we ask you for.

     •     You will not contact us using any means other than the ones we provide to you.

When Our Work Starts and Ends

Our work begins once you pay the Engagement Fee, but we can’t file your case with the court until you sign
the bankruptcy petition and complete the credit counseling course required by law. If you are being sued or
your property is at risk of foreclosure, repossession, or something like that, you should assume that all such
risk remains until we give you a certificate with your bankruptcy’s unique seven-digit case number signed
by the Clerk of the U.S. Bankruptcy Court.

Our work ends once the court enters an order discharging your debt, dismissing your case, closing your
case, or terminating our representation. If we believe that we cannot continue to represent you due to lack
of cooperation, because of an ethical conflict, or for some other reason, we may ask the court to permit us
to withdraw from your case. If that ever happens, you will receive notice and may contest the request at a
hearing before the court. After our representation ends, we will have no duty to inform you of future
developments, deadlines, or changes in the law about this case.

Flat Fee Schedule

You agree to pay the following flat fees for common services that may be required in your case. We agree
to provide these flat rate options in the interest of efficiency, transparency, and providing you with
straightforward expectations about fees in your case.

30-minute initial consultation ................................................................................................................... Free!
Emails to or from you .............................................................................................................................. Free!
Text messages to or from you ................................................................................................................. Free!
Phone calls or meetings with you lasting 15 minutes or less.................................................................. Free!
Phone calls or meetings with you lasting more than 15 minutes .............................................. $5 per minute

     We love talking to you, but the less time we spend talking, the more time we can spend working on
     the results you want. The best way to contact us is by email or text message.




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Bankruptcy Petition ................................................................................................................................. $999

      We will prepare and file the required petition, statement of social security numbers, and credit
      counseling certificates required by law to start your case. This fee also includes our analysis of your
      financial situation. Court fee not included.

      A $250 Emergency Fee will be added if you do not pay the full Engagement Fee, take your credit
      counseling course, and sign the bankruptcy petition more than 24 hours before a sheriff sale,
      repossession, or similar creditor action and your case needs to be filed to stop that action. The
      Emergency Fee compensates us for the extra work we must do, often after hours, to make sure
      that your case is filed in time to stop the creditor’s action on such short notice.

Schedules A-J and Statement of Financial Affairs ............................................................................... $1,749
Form 122C-1 ........................................................................................................................................... $729
Form 122C-2 (if necessary) ................................................................................................................. $1,149

     We will prepare and file the first of each form on which you must disclose your assets, liabilities,
     income, expenses, means, and financial affairs to the court. Because there are additional
     documents to review, prepare, and give you advice about if you have a business, a $1,500
     surcharge will be applied if you have owned a corporation, LLC, sole proprietorship, or any other
     kind of business in the past two years.

Chapter 13 plan....................................................................................................................................... $499
Preparing for your meeting of creditors................................................................................................... $749
Representation at your first scheduled confirmation hearing.................................................................. Free!
Representation at your first scheduled meeting of creditors................................................................... Free!

     We will calculate, prepare, and file your first chapter 13 plan. We will prepare for and prosecute
     confirmation of the plan, including representing you at the first scheduled meeting of creditors and
     confirmation hearings. We will prepare for the meeting of creditors by reviewing the documents you
     submit, redacting personal information when required by law or court rules. Includes review of the
     first 15 proofs of claim filed by your creditors. Additional proofs of claim are reviewed at a rate of
     $35 each. These fees include up to one hour of telephone conversations and miscellaneous contact
     with creditors, the trustee, attorneys, and other parties in interest.

Objections to Proofs of Claim.................................................................................................................. $599

     If a creditor files a claim and you don’t owe them what they say you do, we will prepare, file, and
     serve an objection to the claim and represent you at the hearing where we will demand the court
     disallow that debt.

Motion to Extend, Impose, or Reinstate Automatic Stay......................................................................... $599

     We will prepare, file, and prosecute a motion to extend, impose, or reinstate the automatic stay at
     your request.

Motion to Reinstate Case ........................................................................................................................ $499

     If your case was dismissed and you were at fault, we will prepare, file, and prosecute a motion to
     reinstate your case at your request.

Motion to Reopen Case .......................................................................................................................... $499

     If your case was closed and it needs to be reopened, we will prepare, file, and prosecute a motion
     to reopen your case at your request. Court filing fee not included.




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Amended Petition, Schedule, Statement, or Plan ................................................................................... $349

     If any amended documents are needed, we will prepare and file them with the court. Court filing
     fees of up to $34 per document included.

Motion to Modify Plan.............................................................................................................................. $499

     If your bankruptcy plan needs to be changed after your plan is confirmed, we will prepare, file, and
     prosecute a motion to modify your plan.

Motion to Appoint Next Friend ................................................................................................................. $749

     If someone is filing this case for you because you cannot do so because of special needs or
     disability, we will prepare, file, and prosecute approval of a motion to appoint someone close to you
     to be your personal representative, which the court refers to as a next friend. We will also prepare,
     file, and prosecute approval of a motion to waive credit counseling and financial management
     course requirements, if necessary.

Motion to Extend Time (Financial Management Course).......................................................................... $99

     If you do not complete the financial management course and receive a certificate by the time your
     last trustee payment is due, we will file documents asking the court to extend the time if appropriate.

Loan Modification ................................................................................................................................. $1,999

     At your request, we will represent you in a loan modification request by preparing the application
     and submitting it to your loan servicer.

Complaint to Determine Dischargeability of Student Loans ................................................................ $2,499

     You may be able to discharge student loans in some cases. If your case is one of them, we will
     prepare, file, and prosecute a complaint asking the court to determine that your student loans are
     dischargeable.

Defense of motions to dismiss for failure to make plan payments.......................................................... $499

     If the trustee or anyone else files a motion to dismiss your case because you failed to make plan
     payments (or for some other reason) we will defend you against the motion by filing an objection.

Defense of motions for relief from the automatic stay ............................................................................ $899

     If a creditor files a motion for relief from the automatic stay, we will object to the motion and assert
     your rights under the bankruptcy code to protect your property.

Representation in Student Loan Management Program ..................................................................... $1,500

     We will represent you in the U.S. Bankruptcy Court for the Eastern District of Pennsylvania Student
     Loan Management Program upon your request, if you are eligible.

Representation at continued meetings of creditors ............................................................................... $249
Representation at continued confirmation hearings ............................................................................... $249

     If we must represent you at continued meetings of creditors or confirmation hearings, the above
     fees apply for each continuation.

Representation at Rule 2004 examination .............................................................................................. $999

     If one of your creditors requires you to sit for an examination, we will represent you at the
     examination, including any preparation required.


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Hourly Fees

If your case requires a service that is not listed on the Flat Fee Schedule, we will charge you on an hourly
basis for that service. Our hourly rates are up to $550 per attorney hour and up to $200 per paralegal hour.

You agree to the following hourly rates for these people:

Michael A. Cibik, Principal Attorney ($550); Mike Assad, Deputy Attorney ($375); E.J. Gruber, Associate
Attorney ($275); Nancy Matteis, Paralegal ($175); Iesha Reid, Paralegal ($175)



Contingency Fees

If we file a complaint against a creditor for violating the automatic stay or discharge order, or if we file any
other complaint demanding that someone pay money to you, our fees for the complaint will be contingent
upon the result obtained. If we do not recover any money on your behalf, you will not owe us any fees for
pursing the complaint. In consideration of our work and the risk that we will take, you agree to pay us 40%
of the gross amount of any settlement or judgment, plus the actual costs of any expenses that we advance
on your behalf. But if you fire us as your lawyers before the complaint is concluded, you agree to pay us for
the time expended consistent with our hourly rates, plus the actual costs of any expenses that we advance
on your behalf. But we may, at our sole discretion, disclaim the contingency and instead request that the
Court allow us to obtain compensation from the creditor.

Expenses

You agree to pay actual and necessary costs for things we buy for your case. In addition, we will charge
$150 for petty expenses which may include postage, minor court fees, copying, printing, and public record
searches.

Trustee Payment Refunds

If your case is dismissed or you decide to convert your case to chapter 7, the trustee will usually mail us a
refund of the payments you made to the trustee, less the trustee’s commission and any payments the
trustee made to creditors. You agree that we may sign your name to deposit that check into our attorney
trust account. You also agree that any fees or costs owed to us may be deducted from that refund, and we
agree that we will send you any money left over within 30 days after we receive the check from the trustee.

Wage Orders

If any trustee payment is not received by the trustee on time, you agree that we may ask the Court to order
that the full amount of the trustee payment be deducted from your wages, without further notice to you.

Supplemental Fee Applications

If you incur fees after your plan is confirmed, you agree that we may file a supplemental fee application with
the court and, if necessary, a motion to modify your bankruptcy plan to increase your monthly plan payment
so the trustee can pay the fees to us on your behalf.

If Filing With Your Spouse

If you and your spouse intend to file a joint bankruptcy case and are both signing this agreement, you are
both individually and jointly bound by the terms of this agreement. You agree and understand that we
represent both of you equally, and that we may tell your spouse anything that you tell us. If you are not
actually married, it is a serious federal crime to say so on your bankruptcy petition.




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File Retention

We will retain copies of all documents in your case electronically for no more than five years. Please do not
provide us originals of any important documents; make copies and keep the originals for your records.

Debt Relief Agency

We are a debt relief agency. We help people file for bankruptcy relief under the Bankruptcy Code.

Price Adjustment

Every 365 days after you sign this agreement, every dollar amount in this agreement will be adjusted to
reflect the change in the Consumer Price Index for the most recent 1-year period.

Authority to Enter Agreements

You agree that we may agree to stipulations and consent to court orders on your behalf if we believe in
good faith that the stipulation or order is in your best interest. You have the right to revoke this authority
without our consent at any time by notifying us in writing.

Attorney In Charge

This agreement is between you and Cibik Law, P.C., and not any individual attorney. The attorney in charge
of your case will be Michael A. Cibik. You agree that any other attorney, investigator, paralegal, secretary,
or other person at Cibik Law may work on your case under the direction of the attorney in charge.

Disclosures, Notices, and Information Required by Law

You acknowledge that you have received the disclosures, notices, and information attached, which are
required by 11 U.S.C. §§ 341(d), 342(b), and 527.

No Guarantees

Nothing in this Agreement should be construed as a promise or guarantee about the outcome of any matter
that we are handling on your behalf. Our comments about the outcome of matters pertaining to you are
expressions of opinion only. There are risks in filing for bankruptcy, including the possible liquidation or loss
of property. You also understand that the bankruptcy law is subject to different interpretations and that there
are inherent risks in how Courts will apply various provisions. You are not entitled to a refund or a discount
if the case or a part of the case does not turn out as we hoped it would unless we were negligent.

Entire Agreement

This agreement contains all the terms of the agreement between us applicable to our representation and
may not be modified except by a written agreement signed by both of us. There are no promises, terms,
conditions or obligations applicable to our representation except as expressly set forth in this agreement
The terms of this agreement supersede any previous oral or written agreements between us with respect
to our representation of you.

Electronic Signatures

You agree that this agreement may be electronically signed and that your electronic signature is the same
as your handwritten signature for all purposes, including validity, enforceability, and admissibility. By signing
this agreement electronically, you acknowledge that you have declined the option to sign a paper agreement
and understand that you will receive a signed copy by email.




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Fee Disputes

If you dispute our fees, you agree that the dispute will be resolved by the Philadelphia Bar Association Fee
Dispute Resolution Program or the New Jersey Office of Attorney Ethics Fee Arbitration System.

Things We Already Told You

You agree that we talked about the information below with you. If we didn’t, you agree that you read about
it below and understand it. If you don’t understand, please talk to us and we will explain it to you.

Bank Accounts

If you owe money to your bank or credit union, you should open an account at an institution that you do not
owe money to and move all your money there. If you do not, you run the risk that your bank or credit union
may close your account without notice, or worse, they might take the money you owe right out of your
account (in some cases that is allowed, so if it happens, we can’t always get your money back).

Utility Deposits

To continue providing services, your utility companies may require you to pay a deposit, even if you don’t
owe them money.

Automatic Creditor Payments and Web Portal Access

Once your case is filed, your mortgage company, car finance company, and other creditors will usually
cancel any automatic payments you have scheduled and restrict your access to their web portals.
Sometimes, we can request that they allow you access, but in many cases you will have to pay by phone
or mail.

Credit Cards

Do not use your credit cards or take out any new debt after you sign this agreement. You cannot pay our
fees with a credit card.

Credit Counseling and Financial Management Course

By law, we cannot file your case until you do the credit counseling course. Once you file, you will need to
do a second course, called a financial management course, before your last trustee payment is due in order
to receive a discharge.

Trustee Payments

In a chapter 13 case, you must pay the court appointed bankruptcy trustee every month for between three
and five years to repay your debt. The amount you must pay the trustee will be determined by the
bankruptcy plan we prepare based on your income and debt. Once filed, your case could be dismissed if
you don’t pay the trustee as required by your plan, you don’t provide us with the documents we need to file
with the court or trustee on your behalf, or for some other reason if the court decides it is appropriate.

What Happens if You Do Not Pay the Trustee

You must pay the trustee on time and in full each month. If you do not make your full monthly payment
every 30 days, the court will dismiss your case soon after and your creditors will be able to come after you
as if you never filed at all. If at any time after you file you do not understand who the trustee is, what they
do or how much to pay them, you must tell us. The payment amount is an estimate based on the information
you gave us about your income and debt, and it may change based on new information we gather as your
case moves forward.



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Exceptions and Special Provisions

The following exceptions and special provisions supersede any conflicting provisions above: NONE




Signatures

By signing below, we agree to all the above.


                                                              01/31/2024
Cibik Law, P.C.                                        Date
By: Michael A. Cibik, Esq.


  Jennifer L. Shinn Madden                                    02/01/2024
Name: Jennifer L. Shinn Madden                         Date




Name:                                                  Date




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 Cibik Law, P.C.                                                   INVOICE
 1500 Walnut Street, Suite 900
 Philadelphia, PA 19102                              INVOICE #             DATE
 215-735-1060                                        Pro Forma            1/31/2024
 mail@cibiklaw.com




 BILL TO

Jennifer L. Shinn Madden




   DESCRIPTION                                                                        AMOUNT


   Engagement Fee for Chapter 13 Bankruptcy                             $1,825.00




                           Thank you!




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                        Disclosures, Notices, and Information Required by Law

                               Information Required by 11 U.S.C. § 341(b)

                                  BANKRUPTCY INFORMATION SHEET

BANKRUPTCY LAW IS A FEDERAL LAW. THIS SHEET GIVES YOU SOME GENERAL INFORMATION
ABOUT WHAT HAPPENS IN A BANKRUPTCY CASE. THE INFORMATION HERE IS NOT COMPLETE.
YOU MAY NEED LEGAL ADVICE.

When You File Bankruptcy

You can choose the kind of bankruptcy that best meets your needs (provided you meet certain
qualifications):

        Chapter 7 – A trustee is appointed to take over your property. Any property of value will be sold or
        turned into money to pay your creditors. You may be able to keep some personal items and possibly
        real estate depending on the law of the State where you live and applicable federal laws.

        Chapter 13 – You can usually keep your property, but you must earn wages or have some other
        source of regular income and you must agree to pay part of your income to your creditors. The
        court must approve your repayment plan and your budget. A trustee is appointed and will collect
        the payments from you, pay your creditors, and make sure you live up to the terms of your
        repayment plan.

        Chapter 12 – Like chapter 13, but it is only for family farmers and family fishermen.

        Chapter 11 – This is used mostly by businesses. In chapter 11, you may continue to operate your
        business, but your creditors and the court must approve a plan to repay your debts. There is no
        trustee unless the judge decides that one is necessary; if a trustee is appointed, the trustee takes
        control of your business and property.

If you have already filed bankruptcy under chapter 7, you may be able to change your case to another
chapter.

Your bankruptcy may be reported on your credit record for as long as ten years. It can affect your ability to
receive credit in the future.

What Is a Bankruptcy Discharge and How Does It Operate?

One of the reasons people file bankruptcy is to get a “discharge.” A discharge is a court order which states
that you do not have to pay most of your debts. Some debts cannot be discharged. For example, you cannot
discharge debts for–

    •   most taxes;
    •   child support;
    •   alimony;
    •   most student loans;
    •   court fines and criminal restitution; and
    •   personal injury caused by driving drunk or under the influence of drugs.

The discharge only applies to debts that arose before the date you filed. Also, if the judge finds that you
received money or property by fraud, that debt may not be discharged.

It is important to list all your property and debts in your bankruptcy schedules. If you do not list a debt, for
example, it is possible the debt will not be discharged. The judge can also deny your discharge if you do
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something dishonest in connection with your bankruptcy case, such as destroy or hide property, falsify
records, or lie, or if you disobey a court order.

You can only receive a chapter 7 discharge once every eight years. Other rules may apply if you previously
received a discharge in a chapter 13 case. No one can make you pay a debt that has been discharged, but
you can voluntarily pay any debt you wish to pay. You do not have to sign a reaffirmation agreement (see
below) or any other kind of document to do this.

Some creditors hold a secured claim (for example, the bank that holds the mortgage on your house or the
loan company that has a lien on your car). You do not have to pay a secured claim if the debt is discharged,
but the creditor can still take the property.

What Is a Reaffirmation Agreement?

Even if a debt can be discharged, you may have special reasons why you want to promise to pay it. For
example, you may want to work out a plan with the bank to keep your car. To promise to pay that debt, you
must sign and file a reaffirmation agreement with the court. Reaffirmation agreements are under special
rules and are voluntary. They are not required by bankruptcy law or by any other law. Reaffirmation
agreements–

    •   must be voluntary;
    •   must not place too heavy a burden on you or your family;
    •   must be in your best interest; and
    •   can be canceled anytime before the court issues your discharge or within 60 days after the
        agreement is filed with the court, whichever gives you the most time.

If you are an individual and you are not represented by an attorney, the court must hold a hearing to decide
whether to approve the reaffirmation agreement. The agreement will not be legally binding until the court
approves it.

If you reaffirm a debt and then fail to pay it, you owe the debt the same as though there was no bankruptcy.
The debt will not be discharged and the creditor can take action to recover any property on which it has a
lien or mortgage. The creditor can also take legal action to recover a judgment against you.

IF YOU WANT MORE INFORMATION OR HAVE ANY QUESTIONS ABOUT HOW THE BANKRUPTCY
LAWS AFFECT YOU, YOU MAY NEED LEGAL ADVICE. THE TRUSTEE IN YOUR CASE IS NOT
RESPONSIBLE FOR GIVING YOU LEGAL ADVICE.

Revised 10/05

                                 Notice Required by 11 U.S.C. § 342(b)

This notice is for you if you are an individual filing for bankruptcy and your debts are primarily
consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily
for a personal, family, or household purpose.”

The types of bankruptcy that are available to individuals

Individuals who meet the qualifications may file under one of four different chapters of the Bankruptcy Code:
Chapter 7: Liquidation, Chapter 11: Reorganization, Chapter 12: Voluntary repayment plan for family
farmers or fishermen, Chapter 13: Voluntary repayment plan for individuals with regular income.

You should have an attorney review your decision to file for bankruptcy and the choice of chapter.




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Chapter 7: Liquidation
($245 filing fee + $78 administrative fee + $15 trustee surcharge = $338 total fee)

Chapter 7 is for individuals who have financial difficulty preventing them from paying their debts and who
are willing to allow their non-exempt property to be used to pay their creditors. The primary purpose of filing
under chapter 7 is to have your debts discharged. The bankruptcy discharge relieves you after bankruptcy
from having to pay many of your pre-bankruptcy debts. Exceptions exist for particular debts, and liens on
property may still be enforced after discharge. For example, a creditor may have the right to foreclose a
home mortgage or repossess an automobile.

However, if the court finds that you have committed certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your discharge.

You should know that even if you file chapter 7 and you receive a discharge, some debts are not discharged
under the law. Therefore, you may still be responsible to pay: most taxes; most student loans; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution
obligations; and certain debts that are not listed in your bankruptcy papers.

You may also be required to pay debts arising from: fraud or theft; fraud or defalcation while acting in breach
of fiduciary capacity; intentional injuries that you inflicted; and death or personal injury caused by operating
a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs.

If your debts are primarily consumer debts, the court can dismiss your chapter 7 case if it finds that you
have enough income to repay creditors a certain amount. You must file Chapter 7 Statement of Your Current
Monthly Income (Official Form 122A–1) if you are an individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and compare whether your income is more than the
median income that applies in your state.

If your income is not above the median for your state, you will not have to complete the other chapter 7
form, the Chapter 7 Means Test Calculation (Official Form 122A–2).

If your income is above the median for your state, you must file a second form —the Chapter 7 Means Test
Calculation (Official Form 122A–2). The calculations on the form— sometimes called the Means Test—
deduct from your income living expenses and payments on certain debts to determine any amount available
to pay unsecured creditors. If your income is more than the median income for your state of residence and
family size, depending on the results of the Means Test, the U.S. trustee, bankruptcy administrator, or
creditors can file a motion to dismiss your case under § 707(b) of the Bankruptcy Code. If a motion is filed,
the court will decide if your case should be dismissed. To avoid dismissal, you may choose to proceed
under another chapter of the Bankruptcy Code

If you are an individual filing for chapter 7 bankruptcy, the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion of the proceeds from the sale of the property. The
property, and the proceeds from property that your bankruptcy trustee sells or liquidates that you are entitled
to, is called exempt property. Exemptions may enable you to keep your home, a car, clothing, and household
items or to receive some of the proceeds if the property is sold.

Exemptions are not automatic. To exempt property, you must list it on Schedule C: The Property You Claim
as Exempt (Official Form 106C). If you do not list the property, the trustee may sell it and pay all of the
proceeds to your creditors

Chapter 11: Reorganization
($1,167 filing fee + $571 administrative fee = $1,738 total fee)

Chapter 11 is often used for reorganizing a business, but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.




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Chapter 12: Repayment plan for family farmers or fishermen
($200 filing fee + $78 administrative fee = $278 total fee)

Similar to chapter 13, chapter 12 permits family farmers and fishermen to repay their debts over a period
of time using future earnings and to discharge some debts that are not paid.

Chapter 13: Repayment plan for individuals with regular income
($235 filing fee + $78 administrative fee = $313 total fee)

Chapter 13 is for individuals who have regular income and would like to pay all or part of their debts in
installments over a period of time and to discharge some debts that are not paid. You are eligible for chapter
13 only if your debts are not more than certain dollar amounts set forth in 11 U.S.C. § 109.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that
you owe them, usually using your future earnings. If the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3 years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan, many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to pay include: domestic support obligations, most
student loans, certain taxes, debts for fraud or theft, debts for fraud or defalcation while acting in a fiduciary
capacity, most criminal fines and restitution obligations, certain debts that are not listed in your bankruptcy
papers, certain debts for acts that caused death or personal injury, and certain long-term secured debts.

Read These Important Warnings

Because bankruptcy can have serious long-term financial and legal consequences, including loss
of your property, you should hire an attorney and carefully consider all of your options before you
file. Only an attorney can give you legal advice about what can happen as a result of filing for
bankruptcy and what your options are. If you do file for bankruptcy, an attorney can help you fill out
the forms properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for
knowing and following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for
up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Warning: File Your Forms On Time

Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information about your
creditors, assets, liabilities, income, expenses and general financial condition. The court may dismiss your
bankruptcy case if you do not file this information within the deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court.

For     more    information    about     the         documents        and     their     deadlines,     go      to:
http://www.uscourts.gov/forms/bankruptcy-form




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Bankruptcy crimes have serious consequences

    •   If you knowingly and fraudulently conceal assets or make a false oath or statement under penalty
        of perjury—either orally or in writing—in connection with a bankruptcy case, you may be fined,
        imprisoned, or both.
    •   All information you supply in connection with a bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the U.S. Trustee, the Office of the U.S. Attorney, and
        other offices and employees of the U.S. Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court of any changes in your address.

A married couple may file a bankruptcy case together—called a joint case. If you file a joint case and each
spouse lists the same mailing address on the bankruptcy petition, the bankruptcy court generally will mail
you and your spouse one copy of each notice, unless you file a statement with the court asking that each
spouse receive separate copies.

Understand which services you could receive from credit counseling agencies

The law generally requires that you receive a credit counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint case, both spouses must receive the briefing. With limited
exceptions, you must receive it within the180 days before you file your bankruptcy petition. This briefing is
usually conducted by telephone or on the Internet.

In addition, after filing a bankruptcy case, you generally must complete a financial management instructional
course before you can receive a discharge. If you are filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide both the briefing and the instructional course from:
http://www.uscourts.gov/services-forms/bankruptcy/credit-counseling-and-debtor-education-courses.

In Alabama and North Carolina, go to: http://www.uscourts.gov/services-forms/bankruptcy/credit-
counseling-and-debtor-education-courses. If you do not have access to a computer, the clerk of the
bankruptcy court may be able to help you obtain the list.

                                 Disclosure Required by 11 U.S.C. § 527

All information that you are required to provide with a petition and thereafter during a case under the
Bankruptcy Code is required to be complete, accurate, and truthful;

All assets and all liabilities are required to be completely and accurately disclosed in the documents filed to
commence the case, and the replacement value of each asset as defined in section 506 must be stated in
those documents where requested after reasonable inquiry to establish such value;

Current monthly income, the amounts specified in section 707(b)(2), and, in a case under chapter 13,
disposable income (determined in accordance with section 707(b)(2)), are required to be stated after
reasonable inquiry; and

Information that you provide during your case may be audited pursuant to the Bankruptcy Code, and failure
to provide such information may result in dismissal of the case or other sanction, including a criminal
sanction.




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IMPORTANT INFORMATION ABOUT BANKRUPTCY ASSISTANCE SERVICES FROM AN ATTORNEY
OR BANKRUPTCY PETITION PREPARER.

If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to represent
you, or you can get help in some localities from a bankruptcy petition preparer who is not an attorney. THE
LAW REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION PREPARER TO GIVE YOU A WRITTEN
CONTRACT SPECIFYING WHAT THE ATTORNEY OR BANKRUPTCY PETITION PREPARER WILL DO
FOR YOU AND HOW MUCH IT WILL COST. Ask to see the contract before you hire anyone.

The following information helps you understand what must be done in a routine bankruptcy case to help
you evaluate how much service you need. Although bankruptcy can be complex, many cases are routine.

Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for different forms
of debt relief available under the Bankruptcy Code and which form of relief is most likely to be beneficial for
you. Be sure you understand the relief you can obtain and its limitations. To file a bankruptcy case,
documents called a Petition, Schedules, and Statement of Financial Affairs, and in some cases a Statement
of Intention, need to be prepared correctly and filed with the bankruptcy court. You will have to pay a filing
fee to the bankruptcy court. Once your case starts, you will have to attend the required first meeting of
creditors where you may be questioned by a court official called a ‘trustee’ and by creditors.

If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You may want help
deciding whether to do so. A creditor is not permitted to coerce you into reaffirming your debts.

If you choose to file a chapter 13 case in which you repay your creditors what you can afford over 3 to 5
years, you may also want help with preparing your chapter 13 plan and with the confirmation hearing on
your plan which will be before a bankruptcy judge.

If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13, you will
want to find out what should be done from someone familiar with that type of relief.

Your bankruptcy case may also involve litigation. You are generally permitted to represent yourself in
litigation in bankruptcy court, but only attorneys, not bankruptcy petition preparers, can give you legal
advice.




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